                       THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           FILE NO. 3:20-CV-570-FDW-DSC

                                                    )
 DERRICK COLEMAN, Individually and as               )
 Personal Representative/Administrator of the       )
 Estate of DEVONTE COLEMAN and                      )
 TANGY COLEMAN,                                     )
                                                    )
                            Plaintiffs,             )
 v.                                                 )
                                                    )               CONSENT
 NORTH CAROLINA DEPARTMENT OF                       )           PROTECTIVE ORDER
 PUBLIC SAFETY, ERIK A. HOOKS, in his               )
 individual capacity as Secretary of the            )
 Department of Public Safety, W. DAVID              )
 GUICE, in his individual capacity as Chief         )
 Deputy Secretary for Adult Correction and          )
 Juvenile Justice, KENNETH E. LASSITER,             )
 in his individual capacity as Director of          )
 Prisons, RONALD M. RENE, in his                    )
 individual capacity, and JOHN AND JANE             )
 DOES in their individual capacities,

                            Defendants.

       In order for Defendants North Carolina Department of Public Safety, Erik A. Hooks, W.

David Guice and Kenneth E. Lassiter (“Moving Defendants”) to respond to Plaintiffs’ discovery

requests, they have, or will be, required to produce information (which term includes data or data

compilations in the form of documents, electronic media, testimony, or any other form or medium)

that is otherwise confidential. It is anticipated that some portion of the confidential information

relates to current or former inmates in the custody of the Division of Adult Correction of the

Department of Public Safety (“DPS”), including Plaintiffs’ decedent (the “Decedent”), or relates

to current or former employees of DPS, including Moving Defendants.             This confidential

information (“Confidential Information”) is expected to include inmate records deemed




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confidential pursuant to N.C.G.S. §§ 148-74 and -76, security information deemed confidential by

N.C.G.S. 132-1.7, including video recordings of DPS facilities, and may include information that

is confidential under 42 CFR 2.1, et seq., N.C.G.S. § 122C-52, and the federal Health Insurance

Portability and Accountability Act. In light of the confidentiality of this material, and in an effort

to protect that confidentiality, Moving Defendants require the entry of an order to release the

Confidential Information and to ensure that the Confidential Information is not disclosed or used

for any purpose other than in connection with this litigation. In the interests of justice and to

further the legitimate causes of this litigation, Moving Defendants agree to disclose the

Confidential Information in their possession, custody, or control, subject to the conditions set forth

herein and adopted by the Court.

       Accordingly, it is hereby ORDERED that:

       1. Scope of the Order. This Order applies to all information produced by Moving

Defendants in response to Plaintiffs’ discovery requests and thereafter in the course of the

prosecution or defense of this action, provided that the presiding judicial officer shall determine

the procedure for presentation of Confidential Information at pre-trial hearings and trial.

       2. Use of Confidential Information. All Confidential Information, as defined in this Order,

shall be used solely in the prosecution or defense of this action including, but not limited to,

mediation, other alternative dispute resolution processes, any other settlement process, and all

other pretrial, trial, and post-trial proceedings in this action, and shall not be used or disclosed by

any person for any other purpose.

       3. Disclosure. “Disclose” or “disclosure” means to provide, impart, transmit, transfer,

convey, publish, or otherwise make available.


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       4. Confidential Information. “Confidential Information” consists of “General Confidential

Information” and “Attorneys’ Eyes Only Confidential Information,” which are defined as follows:

       a. “General Confidential Information” means:

              1)     Any personnel files, as that term is defined in N.C.G.S. § 126-22(3),

                     maintained by DPS, excluding personal information as described in

                     Paragraph 4(b)(1).

              2)     The medical and mental health records generated in the treatment or

                     handling of Decedent during his incarceration within DPS which are

                     deemed confidential by N.C.G.S. §§ 148-74 and -76.

              3)     Records generated in the housing and handling of the Decedent during his

                     incarceration within the DPS, including video recordings, which are

                     deemed confidential by N.C.G.S. §§ 148-74 and -76.

              4)     Other information that is potentially embarrassing or invasive of the privacy

                     of a person not a party to this litigation and therefore an appropriate subject

                     of a protective order under Rule 26(c)(1) of the Rules of Civil Procedure.

              5)     Reports of, investigations into, and any findings regarding alleged incidents

                     of sexual misconduct or use of force by Defendants against Decedent.

       b. “Attorneys’ Eyes Only Confidential Information” means:

              1)     Personal information about current or former employees of DPS that is not

                     related to the employee’s job performance or duties, such as social security

                     numbers, home addresses and telephone numbers, insurance records or

                     designations, medical and/or disability information, and other purely private


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            information.

       2)   The medical records of Moving Defendants.

       3)   The personal financial records, telephone records, and e-mail records of

            Moving Defendants.

       4)   Reports of, investigations into, and any findings regarding alleged incidents

            of sexual misconduct or use of force by current or former employees of

            DPS, other than Moving Defendants, against Decedent.

       5)   Reports of, investigations into, and any findings regarding alleged incidents

            of sexual misconduct or use of force by Moving Defendants against current

            or former inmates in the custody of DPS, other than Decedent.

       6)   The medical and mental health records generated in the treatment or

            handling of current or former inmates, other than Decedent, during their

            incarceration within DPS which are deemed confidential by N.C.G.S. §§

            122C-52, 148-74, and -76.

       7)   Records generated in the housing and handling of current or former inmates,

            other than Decedent, during their incarceration within the DPS, including

            video recordings, which are deemed confidential by N.C.G.S. §§ 148-74

            and -76. This designation is not intended to cover Decedent’s records that

            mention other inmates, which would only be subject to the Confidential

            designation.

       8)   Highly sensitive security information as it relates to investigations, security

            designations, staffing patterns and logs, schematic or other drawings and


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                      diagrams, and other sensitive security information deemed confidential

                      pursuant to N.C.G.S. § 132-1.7.

       5. Disclosure of General Confidential Information. General Confidential Information shall

not be disclosed to anyone except:

       a.     The Court and its personnel;

       b.     The parties to this action;

       c.     Counsel for the parties to this action and employees of said counsel;

       d.     Experts or consultants specifically retained by the parties or their attorneys to assist

              them in the preparation of this case or to serve as expert witnesses at the trial of this

              action, but only after execution of a Confidentiality Agreement as provided in

              Paragraph 8; and

       e.     Court reporters or videographers engaged to record depositions, hearings, or the

              trial in this action.

       6. Disclosure of Attorneys’ Eyes Only Confidential Information. Attorneys’ Eyes

Only Confidential Information shall not be disclosed to anyone except:

       a.     The Court and its personnel;

       b.     Counsel for the parties to this action and employees of said counsel;

       c.     Experts or consultants specifically retained by the parties or their attorneys to assist

              them in the preparation of this case or to serve as expert witnesses at the trial of this

              action, but only after execution of a Confidentiality Agreement as provided in

              Paragraph 8; and

       d.     Court reporters or videographers engaged to record depositions, hearings, or the


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               trial in this action.

       7. Withdrawal of Plaintiffs’ Counsel. In the event that counsel for Plaintiffs withdraws

from representation during the pendency of this litigation and Plaintiffs proceed pro se, any

Attorneys’ Eyes Only Confidential Information disclosed to counsel for Plaintiffs may not

thereafter be disclosed to Plaintiffs, except upon written consent of defense counsel or by order of

the court upon a motion for good cause shown, and only after Plaintiffs have signed a

Confidentiality Agreement, attached as Exhibit A, and returned it to counsel for Plaintiffs.

       8. Confidentiality Agreements. Before Confidential Information is disclosed to any person

described in Paragraphs 5(d) or 6(c) of this Order, counsel for the party disclosing the information

shall inform the person to whom the disclosure is to be made that Confidential Information shall

be used only for the purpose of the prosecution or defense of this action, and shall obtain from the

person to whom the disclosure is to be made a signed Confidentiality Agreement in the form

attached hereto as Exhibit A. Counsel for the party disclosing the Confidential Information to said

person shall maintain the original Confidentiality Agreement and need not produce it except by

agreement of the parties or upon order of the Court.

       9. Designation of Confidential Information. Information shall be designated as

Confidential Information in the following manner:

       a.      In the case of information reduced to paper form, the designation shall be made:

               (1)     by placing the appropriate legend, “CONFIDENTIAL – SUBJECT TO

                       PROTECTIVE ORDER” for General Confidential Information or

                       “CONFIDENTIAL–ATTORNEYS’ EYES ONLY” for Attorneys’ Eyes

                       Only Confidential Information, on each page containing such information


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              or;

       (2)    by such other means as agreed to by the parties. The party disclosing the

              information shall designate the documents as confidential at or before the

              time of disclosure. A party may make the designation with respect to

              information disclosed by another party by a writing directed to the

              producing party’s counsel. The producing party’s counsel shall then be

              responsible for labeling the designated information as provided herein.

 b.    Information on a computer disk, data tape, or other medium that has not been

       reduced to paper form shall be designated as General Confidential Information or

       Attorneys’ Eyes Only Confidential Information:

       (1)    by informing counsel for the parties to this action in writing that the

              computer disk, data tape, or other medium contains such Confidential

              Information and, where applicable, specifying by Bates or other page

              number the particular information being designated or;

       (2)    by such other means as agreed to by the parties. To the extent practicable,

              such physical medium should also be labeled using the appropriate legend.

              Any party receiving Confidential Information designated under this

              Paragraph 9(b) shall then be responsible for appropriately labeling any

              printed version(s) of such information that it creates.

 c.    In the case of deposition testimony, any party may designate information disclosed

       during a deposition as General Confidential Information or Attorneys’ Eyes Only

       Confidential Information by either:


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               (1)     identifying on the record at the deposition the information that is to be

                       treated as Confidential Information or;

               (2)     marking the portions of the deposition transcript to be designated as

                       Confidential Information within twenty-one days after receipt of the

                       transcript. When the deponent and the attending parties do not agree to

                       waive the reading, correcting, and signing of the transcript, all information

                       disclosed during a deposition shall be treated as Attorneys’ Eyes Only

                       Confidential Information before the expiration of the twenty-one day period

                       unless otherwise agreed by the parties and the deponent. If any deposition

                       testimony or any document or information used during the course of a

                       deposition is designated as Confidential Information, each page of the

                       deposition transcript containing such information shall be labeled with the

                       appropriate legend specified in Paragraph 9(a), and the first page of the

                       deposition transcript shall be labeled in a manner that makes it readily

                       apparent that the transcript contains Confidential Information.

       d.      Any other information that is not reduced to physical form or cannot be

               conveniently labeled shall be designated as Confidential Information by serving a

               written notification of such designation on counsel for the other parties. The notice

               shall, where applicable, specify by Bates or other page number the particular

               information being designated.

       10. Disputes over Designations. If any party objects to the designation of any information

as confidential, counsel for the objecting party and counsel for the designating party shall attempt


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to resolve the disagreement on an informal basis. If the objection is not so resolved, the objecting

party may move the court for appropriate relief. The information in question shall continue to be

treated as confidential in accordance with the disputed designation unless and until the court issues

a final ruling that the information does not qualify for such a designation. The non filing by the

objecting party of a motion for relief shall not be deemed an admission that the information in

question qualifies for the disputed designation.

       11. Inadvertent Disclosure of Confidential Information. Inadvertent disclosure of

Confidential Information, without identifying the same as confidential, shall not be deemed a

waiver of confidentiality with regard to similar or related information nor shall it be deemed a

waiver of confidentiality with regard to the information inadvertently disclosed if promptly called

to the attention of counsel for each receiving party.

       12. Filing of Confidential Information Under Seal. When filing a document marked

“Confidential Information” or “Attorneys’ Eyes Only”, the filing party must comply with Local

Civil Rule 6.1.

       13. Authors/Recipients. Except as specifically provided herein, this Order shall not limit

use by a party of its own Confidential Information, nor shall this Order limit the ability of a party

to disclose any document to its author or to anyone identified on the face of the document as a

recipient.

       14. Return of Confidential Information. Following the conclusion of this action, including

any appeals, a party that produced Confidential Information may request in writing its return by

any other party. Within sixty days after service of such a request, any party that received the

Confidential Information shall either return it to counsel for the producing party or destroy it, at


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the election of the receiving party; provided that the information shall not be destroyed if otherwise

ordered by the Court or a motion for relief from this Paragraph 14 is pending. If a receiving party

elects to destroy the Confidential Information rather than returning it to the producing party,

counsel for the receiving party shall provide to the producing party by the sixty day deadline a

signed certification that the Confidential Information has been destroyed. This Paragraph shall not

be construed to require the return or destruction of any regularly-maintained litigation files held

by the attorneys of record or former attorneys of record for each party as archival records or other

attorney work-product created for any party. Any Confidential Information, or portions or excerpts

thereof, which are not returned or destroyed pursuant to this Paragraph shall remain subject to the

terms of this Order. The return of trial exhibits by the Court shall be governed by Local Civil Rule

79.1.

        15. Admissibility of Information. Neither the terms of this Order nor the disclosure or

designation as confidential of any information pursuant to it shall be deemed to establish or vitiate

the admissibility under the Federal Rules of Evidence of any information subject to this Order.

        16. Confidential Employee Information. Pursuant to N.C.G.S. § 126-24(4), this Order

authorizes the disclosure of confidential portions of the personnel files maintained by the DPS-

DAC of current or former employees in accordance with the terms of this Order.

        17. Disposition of Protected Materials. Pursuant to the Court’s Case Management Order,

paragraph E, notwithstanding any other provisions in this Protective Order, the ultimate disposition

of protected materials is subject to a final order of the Court on the completion of litigation.

        18. Modification. This Order is without prejudice to the right of any party or witness to

seek modification or amendment of the Order by motion to the Court, or to seek and obtain


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additional protection with respect to Confidential Information as such party may consider

appropriate.

       SO ORDERED.            Signed: January 12, 2021




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                       THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                            FILE NO. 3:20-CV-570-FDW

                                                      )
 DERRICK COLEMAN, Individually and as                 )
 Personal Representative/Administrator of the         )
 Estate of DEVONTE COLEMAN and                        )
 TANGY COLEMAN,                                       )
                                                      )
                             Plaintiffs,              )
 v.                                                   )               EXHIBIT A:
                                                      )            CONFIDENTIALITY
 NORTH CAROLINA DEPARTMENT OF                         )              AGREEMENT
 PUBLIC SAFETY, ERIK A. HOOKS, in his                 )
 individual capacity as Secretary of the              )
 Department of Public Safety, W. DAVID                )
 GUICE, in his individual capacity as Chief           )
 Deputy Secretary for Adult Correction and            )
 Juvenile Justice, KENNETH E. LASSITER,               )
 in his individual capacity as Director of            )
 Prisons, RONALD M. RENE, in his                      )
 individual capacity, and JOHN AND JANE               )
 DOES in their individual capacities,

                             Defendants.

        I have read and am familiar with the terms of the Protective Order governing the disclosure
of confidential information in the case of Derrick Coleman, et al., v. the North Carolina
Department of Public Safety, et al., Case No. 3:20-CV-570-FDW, United States District Court for
the Western District of North Carolina. I agree to abide by all the terms of said Order and not to
reveal or otherwise communicate any of the information or documents disclosed to me pursuant
thereto to anyone except in accordance with the terms of said Order. I agree not to make use of
any information obtained, whether in documentary or other form, pursuant to that Order other than
for purposes of this litigation. I also agree, upon written request, to return to counsel of record no
later than 60 days after the termination of this litigation any and all documents in my possession
containing information which is the subject of said Order or disclosed to me pursuant to the Order
(whether such information is in the form of notes, memoranda, reports, or other written

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communications or documents prepared by any person at any time containing information covered
by the terms of said Order). I further agree to submit myself to the jurisdiction of the foregoing
court, including its contempt power, for enforcement of said Order.
                                             ________________________
                                             Signature         (Date)

                                             ________________________
                                             Printed Name


                                             ________________________
                                             Signature         (Date)

                                             ________________________
                                             Printed Name




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